         Case 1:14-cv-00958-ESH Document 121 Filed 09/14/19 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

FORT SILL APACHE TRIBE                )
                                      )
               Plaintiff,             )
                                      )
v.                                    )      Civil Action No. 14–0958 (RMC)
                                      )
NATIONAL INDIAN GAMING                )
COMMISSION, et al.,                   )
                                      )
               Defendants.            )
                                      )

                PLAINTIFF’S CONSENT MOTION FOR ADDITIONAL
               MODIFICATION OF REMAINING BRIEFING SCHEDULE

       Plaintiff, through undersigned counsel, respectfully requests that this Court grant

modification of the remaining briefing schedule, by permitting the parties additional time within

which to file their remaining submissions on summary judgment, Plaintiff from September 27,

2019 up to and including November 8, 2019; and Federal Defendants from October 18, 2019 up

to and including December 13, 2019. The grounds for the request for additional modification are

as follows:

       1. The Court’s Minute of August 28, 2019 modified the remaining briefing schedule as

follows: “Plaintiff’s Response to Federal Defendants Cross-Motion and Reply in Support of

Plaintiff’s Motion for Summary Judgment” due on or before September 27, 2019; and Federal

Defendants’ Reply in Support of its Cross-Motion” due on or before October 18, 2019.

       2. At the time Plaintiff sought the foregoing modification, the attorney with lead drafting

responsibility had been summoned for possible grand jury duty for five weeks beginning

September 9, 2019, but understood – based on information appearing on the Superior Court

website – that deferral of any jury duty for up to 90 days was a matter of right. He also informed
         Case 1:14-cv-00958-ESH Document 121 Filed 09/14/19 Page 2 of 3




the Jury Office that it was an extraordinarily busy period in his practice.

       3. However, he became aware the week of September 2nd that the Jury Office declined

the request for deferral. Efforts during the week to persuade the Office to reconsider proved

unsuccessful as well. He began serving Monday, September 9th, and is to serve daily from 9:30

to 5:00 p.m. – absent unusual personal circumstances – until October 11, 2019. He seeks leave

to respond here by November 8, 2019 in light of several other unavoidable extensions of time

required in other matters.

       4. Defense counsel has kindly consented to the request to modify the remaining briefing

schedule further; and, in light of a very busy period and Thanksgiving holiday, would seek until

December 13, 2019 within which to file a submission in reply.

       WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that the Court

grant modification of the remaining briefing schedule as follows:

       1. Plaintiff’s Response to Defendants’ Cross Motion for Summary Judgment,

           and Reply to Defendants’ Response to Plaintiff’s Motion for Summary

           Judgment from September 27, 2019 to November 8, 2019; and

       2. Defendants’ Reply to Plaintiff’s Response to Defendants’ Cross Motion for

           Summary Judgment from October 18, 2019 to December 13, 2019.

       A proposed Order is attached.




                                                 -2-
        Case 1:14-cv-00958-ESH Document 121 Filed 09/14/19 Page 3 of 3




                                            Respectfully submitted,


                                            /s/ John P. Racin
                                            John P. Racin
                                            Law Office of John P. Racin
                                            1721 Lamont Street, N.W.
                                            Washington, D.C . 20010
                                            (202) 277.7691
                                            Fax: 202.296.5600
                                            Email: johnpracin@gmail.com

                                            Attorney for Plaintiff
                                            Fort Sill Apache Tribe




                             CERTIFICATE OF SERVICE

       The foregoing Plaintiff’s Consent Motion for Additional Modification of Remaining
Briefing Schedule will be served to the following counsel for Defendant in this case by the
Court’s CM/ECF system after proper filing of an Adobe PDF version of the above items on the
Court’s secure website on September 14, 2019:

Brian Matthew Collins
U.S. DEPARTMENT OF JUSTICE
ENRD
P.O. Box 7611
Washington, DC 20044
(202) 305-0428
Fax: 202-305-0506
Email: brian.m.collins@usdoj.gov



                                            /s/ John P. Racin
                                            John P. Racin




                                                -3-
